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                                           #: 5957



                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 TEXARKANA DIVISION


 UNITED STATES OF AMERICA                                                           RESPONDENT


 v.                              Criminal No. 4:11-CR-40037-041
                                    Civil No. 4:16-CV-4046
 MICHAEL WALKER                                                                           MOVANT


                                              ORDER

        Movant, a defendant in this criminal matter, confined to the Federal Bureau of Prisons, Yazoo

 City, Mississippi, has filed a Notice of Dismissal (ECF No. 1776) of his Motion to Vacate, Set Aside,

 or Correct Sentence pursuant to 28 U.S.C. § 2255. ECF No. 1690 and 1718.         He seeks dismissal

 without prejudice. The Motion to Vacate had been previously stayed pending the decision of the

 United States Supreme Court in Beckles v. United States, ___ U.S. ___, 2017 W.L. 855781 (March

 6, 2017).

        The Government has not responded to the Motion to Vacate and therefore dismissal is proper

 pursuant to Fed.R.Civ.P. 41(a)(1)(A)(i). Movant's Notice of Dismissal is proper and the Motion to

 Vacate, Set Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255 (ECF No. 1690 and 1718) is

 DISMISSED without prejudice.

        ENTERED this 28th day of March 2017.


                                                         /s/ Susan O. Hickey
                                                        HON. SUSAN O. HICKEY
                                                        UNITED STATES DISTRICT JUDGE
